        Case 1:25-cv-10676-BEM         Document 150        Filed 06/02/25      Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )    No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )


                                 DEFENDANTS’ STATUS REPORT

        Consistent with the Court’s May 21, 2025 order (ECF No. 119), Defendants report the

following information as an update to the report it provided to this Court under seal on May 25,

2025:

        1. Defendants inform undersigned counsel that all eight aliens remain in the custody of

           the Department of Homeland Security (DHS) in Djibouti.

        2. Defendants inform undersigned counsel that DHS has established an interview room

           where the aliens will be able to speak to their attorneys privately over Microsoft

           Teams. DHS also has a satellite phone available for use by the aliens.



Respectfully submitted,
     Case 1:25-cv-10676-BEM         Document 150      Filed 06/02/25      Page 2 of 2




YAAKOV M. ROTH                                MATTHEW P. SEAMON
Acting Assistant Attorney General             Senior Litigation Counsel

DREW C. ENSIGN                                /s/Mary L. Larakers
Deputy Assistant Attorney General             MARY L. LARAKERS
                                              (Texas Bar # 24093943)
ANTHONY P. NICASTRO                           Senior Litigation Counsel
Acting Director                               U.S. Department of Justice, Civil Division
                                              Office of Immigration Litigation
ELIANIS N. PEREZ                              P.O. Box 868, Ben Franklin Station
Assistant Director                            Washington, DC 20044
                                              (202) 353-4419
                                              (202) 305-7000 (facsimile)
                                              mary.l.larakers@usdoj.gov




                                          2
